     Case: 1:17-cv-05124 Document #: 68 Filed: 12/20/17 Page 1 of 4 PageID #:1371



                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


   MARY PRZYTULA and BRAD BREDE, on
   behalf of themselves and all others similarly
   situated,
                                                        No. 17 Civ. 5124
                            Plaintiffs,

             v.


   BED BATH & BEYOND INC.,

                            Defendant.



                            DECLARATION OF GRANT VAN DE RH OLT

       I. GRANT VANDERHOLT, based on my personal knowledge of the facts stated herein,

testify by Declaration as ibllows:

       1.         1 am over the age   of 18 and am otherwise competent to testify to the matters
contained in this Declaration, and if so called, would testify to the facts below.

       2.         All of the statements in this Declaration are true and accurate to the best of my

knowledge.

       3.         The facts set forth in this Declaration are based on my own personal knowledge of

the particular stores in which I have worked and of the stores that I oversee in the Midwest

Region.

        4.        I became employed by Bed Bath and Beyond Inc. ("BBB") in March, 2000, as a

Store Manager. After approximately 2 years, I was promoted to a District Manager and served in

that role for about 13 years. I was eventually promoted to Regional Manager in May of 2015.

and currently serve in that role. In my current capacity as a Regional Manager of the Midwest



                                                   1
      Case: 1:17-cv-05124 Document #: 68 Filed: 12/20/17 Page 2 of 4 PageID #:1372



Region, I oversee 39 stores ranging in volume--5 are very high volume, 7 are high volume, 20

are mid volume, and 7 are low volume. My stores are in Illinois, Indiana, and Iowa.

       5.      Typically, a BBB Regional Manager oversees District Managers and Area

Managers in the Region. A BBB District Manager has responsibility for a number of stores in a

particular geographic area. Reporting to the District Manager are Store Managers, each of whom

is responsible for a single store. The Store Managers, in turn, have Assistant Store Managers

("ASMs") reporting to them. In the Midwest Region that I oversee, each store has between 0 and

4 ASMs. Each store has between 0 and 7 Department Supervisors who report to the ASMs.

ASMs supervise Department Supervisors and other hourly associates. The number of hourly

associates varies greatly from store to store, with the lower volume stores having fewer than 20

and higher volume stores having upwards of 80.

        6.     There are two types of ASMs at 1313B: Operations Managers and Merchandise

Assistant Managers. All ASMs at 131313 in the Midwest Region are classified as exempt

employees.

        7.     Both Operations Managers and Merchandise Assistant Managers are expected to

do primarily exempt work. The responsibilities required of an ASM vary as a result of a number

of factors.

        8.     One of these factors is store volume. While their exempt responsibilities remain

the same, their individual experience varies based on the number of associates they are

responsible for managing. For example, the ASMs in my stores spend about 1/3 of their weeks as

the only manager in the building. Stores that do not conduct as much business, or stores that are

heavily influenced by market seasonality, affect ASMs' responsibilities because their stores do

not employ as many associates, and as a result, there are not as many associates to delegate to.




                                                 2
      Case: 1:17-cv-05124 Document #: 68 Filed: 12/20/17 Page 3 of 4 PageID #:1373



       9.         Store volume also affects ASMs' duties. Some ASMs have a difficult time

managing and delegating to a large number of associates in a high volume store, but excel in

their exempt duties in a low volume store where they have fewer associates to manage.

       10.        Similarly, local management and the Store Manager of each store affect an

ASM's experience. For example, some Store Managers have a higher comfort level with their

ASMs making hiring decisions, while others prefer to be involved together with the ASMs in

determining which candidates to hire.

        11.       The type of ASM (Operations vs. Merchandise Assistant Manager) also has an

impact on their day-to-day exempt responsibilities. While both types of ASMs are responsible

for managing the Department Supervisors and store associates who report to them, Operations

Managers generally supervise more employees than Merchandise Assistant Managers and in

different ways. For example, the Operations Manager typically handles the "behind the scenes"

administrative aspects of running the store such as matching invoices on freight and scheduling

store associates; whereas the Merchandise Assistant Manager is responsible for the retail aspects

of the store such as running promotions, determining which products will best serve the store's

local customer base, and ensuring that products are timely ordered to ensure proper stock within

the store.

        12.       An ASM's duties are also affected by the ASM's ability to properly train his/her

Department Supervisors and associates. If an ASM is an effective trainer, they have more of an

ability to delegate and rely on their employees in accomplishing tasks. ASMs who fail to invest

in training their Department Supervisors and associates typically perform some of the work

themselves because they do not want to rely on their employees who have not been trained as

well as others.




                                                  3
      Case: 1:17-cv-05124 Document #: 68 Filed: 12/20/17 Page 4 of 4 PageID #:1374



       13.       The personality of each ASM and Store Manager also plays a role in the level of

discipline conducted by ASMs. There are some stores where the Store Manager is not

comfortable with conflict, so they rely on their ASMs to issue discipline. There are also stores

where the ASM is conflict averse, so the Store Manager typically does most of the discipline.

       14.       In certain stores, BBB has a higher turnover rate of its associates than other stores.

Duties such as reviewing applications, conducting interviews, offering employment to

applicants, and training new hires consumes more of an ASM's time in a store with a high

turnover rate.



       I declare under penalty of pedury that the foregoing is true and correct.

Executed this    i8 day of December 2017.

                                                I3y:
                                                       Grant V anderholt
                                                       Regional Manager
                                                       Bed Bath and Beyond Inc.




                                                   4
